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            EXHIBIT 3
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Search:                Public Records : Real Property
Terms:                 first-name(Sean) last-name(Combs) street address(27 Burning Hollow Road) city(Saddle River) state(NJ)
                       zip code(07458)




No.       Name Information                Property Address                 APN                        Jurisdiction
1         Buyer                           27 BURNING HOLLOW RD             01807-0000-00004           Deed Record for
                                                                                                      BERGEN, NJ
          SHAFRAN, JASON                  SADDLE RIVER, NJ 07458-
          27 BURNING HOLLOW RD            2940                                                        Recording Date :
                                                                                                      07/24/1998
          SADDLE RIVER, NJ 07458-
                                                                                                      Document Type :
          2940
                                                                                                      DEED
                                                                                                      Contract Date :
          SHAFDAN, ADAM                                                                               07/02/1998
          27 BURNING HOLLOW RD                                                                        Data Source : B
          SADDLE RIVER, NJ 07458-
          2940

          Seller
          COMBS, SEAN
          27 BURNING HOLLOW RD
          SADDLE RIVER, NJ 07458-
          2940




Terms:                 first-name(Sean) last-name(Combs) street address(27 Burning Hollow Road) city(Saddle River) state(NJ)
                       zip code(07458)
Date/Time:             Tuesday, February 4, 2025 10:15 PM
Permissible Use:       Your DPPA Permissible Use: Litigation
                       Your Secondary DPPA Permissible Use: None
                       Your GLBA Permissible Use: Persons with a Legal or Beneficial Interest Regarding a Consumer



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